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17                              UNITED STATES DISTRICT COURT

18                             NORTHERN DISTRICT OF CALIFORNIA
19   ANTI POLICE-TERROR PROJECT,               )   Case No. 3:20-cv-03866-JCS
20   COMMUNITY READY CORPS, AKIL               )
     RILEY, IAN McDONNELL, NICO NADA,          )   [PROPOSED] ORDER GRANTING
21   AZIZE NGO, and JENNIFER LI, on behalf     )   TEMPORARY RESTRAINING ORDER
     of themselves and similarly situated      )   AND ORDER TO SHOW CAUSE
22   individuals,                              )
                                               )
23               Plaintiffs,                   )
24    vs.                                      )
                                               )
25   CITY OF OAKLAND, OPD Police Chief         )
     SUSAN E. MANHEIMER, OPD Sergeant          )
26   PATRICK GONZALES, OPD Officer             )
27   MAXWELL D’ORSO and OPD Officer            )
     CASEY FOUGHT,                             )
28                                             )
                 Defendants.
                                               )


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     Order Granting Temporary Restraining Order and Order to Show Cause - 1
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 1         This matter came before the Court’s on June 18, 2020, at 1 p.m., on Plaintiffs’
 2   Application for a Temporary Restraining Order and Order to Show.
 3         Based upon the agreement of the parties and good cause appearing,
 4         IT IS HEREBY ORDERED, pending further hearing and the Court’s Order, that
 5   defendants City of Oakland, Police Chief Susan Manheimer, et al., and all persons acting on
 6   their behalf and under their supervision are forbidden from:
 7         1.       Using tear gas or any other chemical weapons against persons taking part in a
8                   protest or demonstration.
 9         2.       Firing rubber bullets or similar projectiles at persons taking part in a protest or
10                  demonstration.
11         3.       Firing flash bang grenades at persons taking part in a protest or demonstration.
12         4.       Upon the decision of the OPD Operations Commander or Incident Commander,
13                  that the use of tear gas or any other chemical weapon or flash bang grenades is
14                  reasonably necessary to protect the lives of people, protect people from serious
15                  bodily injury, or to prevent the imminent destruction of property, tear gas or other
16                  chemical weapons or flash bang grenades may be used only at Oakland City Hall,
17                  the OPD Administration Building, or the OPD Eastmont Mall Substation to
18                  protect persons or protect that property from destruction. Flash bang grenades
19                  may not be fired directly at persons but must be fired only in a safe direction. To
20                  the fullest extent possible, such use of tear gas or other chemical weapons and
21                  flash bang grenades is allowed only after an audible warning of their use has been
22                  issued and after sufficient time to comply has been granted.
23         5.       In all actions in which the Oakland Police Department calls in police personnel
24                  from other jurisdictions under mutual aid agreements, to the fullest extent
25                  possible OPD personnel shall endeavor to assume front line positions between
26                  mutual aid officers and demonstrators.
27         This Order shall remain in effect until further Order of the Court. This matter shall be
28   heard by the Court on July 2, 2020, on plaintiffs’ motion for a preliminary injunction.



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     Order Granting Temporary Restraining Order and Order to Show Cause - 2
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 2         SO STIPULATED.
 3
 4         SIEGEL, YEE, BRUNNER & MEHTA
           WALTER RILEY
 5         JAMES DOUGLAS BURCH
 6
           By: Dan Siegel_____________
 7               Dan Siegel
8          Attorneys for Plaintiffs
 9
10         CITY OF OAKLAND
11         By: David A. Pereda_________
12               David A. Pereda

13         Attorneys for Defendants
14
           IT IS SO ORDERED.
15
16
           Dated: June _        , 2020           _____________________________
17                                               Hon. Joseph C. Spero
18                                               UNITED STATES MAGISTRATE JUDGE

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     APTP v. City of Oakland, No. 3:20-cv-03866-JCS
     Order Granting Temporary Restraining Order and Order to Show Cause - 3
